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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         ORDER DISMISSING CLASS ACTION
                                                     COMPLAINTS
   Ramirez v. Monsanto Co.,
   Case No. 3:19-CV-02224-VC                         Re: Dkt. No. 11309, 12507, 18914

   Sheller v. Monsanto Co.,
   Case No. 3:19-CV-07972-VC

   Perez-Hernandez v. Monsanto Co.,
   Case No. 3:24-CV-01736-VC



       The complaints filed in the above-captioned cases are dismissed for failure to adequately

allege Article III standing. Specifically, each complaint is deficient with respect to the “injury-in-

fact” and “redressability” elements of standing.

       Although the complaints contain general allegations that the plaintiffs were exposed to

Roundup and that Roundup increases the risk of developing NHL, they do not give the reader

any sense of the magnitude of the increase in risk. For example, imagine that a typical person has

a 1-in-100 risk of developing NHL. Does exposure to Roundup increase that hypothetical risk to

1.1-in-100? 2-in-100? 5-in-100? This is not to say that a plaintiff must always allege precise

numbers in a case like this. But the allegations must give the Court some meaningful

understanding of the magnitude of increase in risk. Compare Riva v. Pepsico, Inc., 82 F. Supp.

3d 1045, 1052–3 (N.D. Cal. 2015) with Navarro v. ExxonMobil Corp., 2023 WL 7107135, at *4
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(C.D. Cal. May 22, 2023) and Trujillo v. Ametek, Inc., 2015 WL 7313408, at *6 (S.D. Cal. Nov.

18, 2015). Then the Court can assess whether it rises to the level of an injury-in-fact within the

meaning of Article III. For example, if the plaintiffs can allege no more than an increase from 1-

in-100 to 1.1-in-100, is that enough? It may well be that the plaintiffs will be able to beef up their

allegations in a way that satisfies this requirement, but they have not satisfied it here.

       Less clear is whether the plaintiffs will ever be able to satisfy the redressability

requirement. Their current allegations certainly fail on that front. In Sheller and Ramirez, the

plaintiffs barely touch on the issue—they don’t come close to explaining whether medical

monitoring could actually mitigate the harm from any increased risk of developing NHL. In

Perez-Hernandez, the complaint gives lip service to the issue, but the allegations are so general

as to be meaningless. Take, for example, Paragraph 68:

               Early detection necessarily allows patients to avail themselves of
               myriad forms of prompt and effective treatment, each of which is
               capable of altering the course of the illness or significantly
               decreasing a Class Member’s risk of severe injury, e.g., by bringing
               cancer into remission or allowing for removal of any malignant
               tumors. Simply put, needed treatment can begin sooner. Early
               detection can provide great benefits to patients who are developing
               NHL by reducing the amount of chemotherapy necessary for
               treatment and remission.
This paragraph might as well have read, “trust us, there can be medical monitoring.” But what is

the monitoring? Is that monitoring capable of detecting NHL before symptoms appear? If not,

then how will the medical monitoring benefit patients? The complaint in Perez-Hernandez does

not answer any of these questions, instead speaking in vague generalities that leave the reader

wondering if the allegations have simply been made up.

       The plaintiffs observe that these questions—whether they have alleged an injury-in-fact

and whether that injury is redressable by medical monitoring—overlap with the merits (that is,

whether they have stated a claim for medical monitoring under the laws of various states). And

the plaintiffs note that when issues of standing overlap with the merits, courts should generally

address those issues on the merits. That is certainly true. See, e.g., In re Facebook, Inc.,

Consumer Privacy User Profile Litigation, 402 F. Supp. 3d 767, 788–9 (N.D. Cal. 2019); see


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also Bowen v. Energizer Holdings, Inc., 118 F.4th 1134, 1139 (9th Cir. 2024). But thus far, it’s

difficult to tell how much these standing questions overlap with the merits. Sometimes, even

when a plaintiff may pursue a state-law claim on the merits, they lack standing to do so in federal

court. See, e.g., Olea v. Teichert Pipelines, Inc., 2023 WL 6237985, at *2 (N.D. Cal. Sept. 25,

2023). As applied here, one could imagine a plaintiff being able to state a claim for medical

monitoring under state law, but being unable to satisfy the Article III standing requirements—

either because the alleged injury is too speculative or because the connection between the injury

and the requested remedy is too attenuated. And the plaintiffs have not provided enough

information about the requirements for stating a claim for medical monitoring. So at least at this

stage, it’s appropriate to treat the questions discussed here as ones of standing. In any event, it

seems doubtful that the plaintiffs have adequately pled their medical monitoring claims either.

       Dismissal is with leave to amend, to the extent that the plaintiffs, consistent with their

Rule 11 obligations, can adequately allege a type of medical monitoring that could reasonably be

available to the plaintiffs and that would mitigate any risk created by exposure to Roundup, as

compared to the regular attention someone might normally be expected to receive. Any amended

complaints are due within 28 days of this ruling. If amended complaints are not filed by that

deadline, dismissal is with prejudice. In the event that amended complaints are filed, Monsanto

may file motions to dismiss on the issues of standing and failure to state a claim for medical

monitoring 28 days thereafter. Concurrently, Monsanto is free to file a motion to deny class

certification. Although early motions to deny class certification are generally disfavored, this

MDL has already generated much discussion and evidence of the many obstacles that plaintiffs

like these face in getting a class certified. Monsanto reserves the right, following adjudication of

the above-referenced motion to dismiss and any motion to deny class certification, to file a

subsequent motion to dismiss raising any additional pleading issues.




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      IT IS SO ORDERED.

Dated: November 8, 2024
                                  ______________________________________
                                  VINCE CHHABRIA
                                  United States District Judge




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